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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16–456V
                                      Filed: July 14, 2017
                                        UNPUBLISHED


    ISAAC WATSON,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Attorneys’ Fees and Costs
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Heather Lynn Pearlman, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On April 11, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that he suffered Guillain-Barré Syndrome (“GBS”) as a result of
his influenza vaccine administered on October 21, 2014. On March 24, 2017, the
undersigned issued a decision awarding compensation to petitioner based on the
parties’ stipulation. (ECF No. 30.)

       On May 16, 2017, petitioner filed an application for attorneys’ fees and costs.
(ECF No. 34.) Petitioner requests attorneys’ fees in the amount of $13,576.90 and
attorneys’ costs in the amount of $371.06. (Id. at 1.) Additionally, in compliance with

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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General Order #9, petitioner filed a signed statement indicating that petitioner incurred
$400.00 in out-of-pocket expenses. Thus, the total amount requested is $14,347.96.

        On June 1, 2017, respondent filed a response to petitioner’s application. (ECF
No. 36.) Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” Id. at 3.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s application for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total of $14,347.963 as follows:

                A lump sum of $13,947.96, representing reimbursement for
                 attorneys’ fees and costs, in the form of a check payable jointly to
                 petitioner and petitioner’s counsel, Ronald Craig Homer; and

                A lump sum of $400.00, representing reimbursement for petitioner’s
                 costs, in the form of a check payable to petitioner.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master


3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
